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                                   8                               UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
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                                  11    FEDERAL TRADE COMMISSION,
                                                                                        Case No. 17-cv-00220 LHK (NC)
Northern District of California




                                  12
 United States District Court




                                                      Plaintiff,                        ORDER GRANTING IN PART AND
                                  13                                                    DENYING IN PART QUALCOMM’S
                                                v.                                      REQUEST TO COMPEL FTC
                                  14                                                    INTERROGATORY RESPONSES
                                        QUALCOMM INC.,
                                  15                                                    Re: Dkt. No. 623
                                                        Defendant.
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                                              Before the Court is Qualcomm’s request to compel amended responses by the FTC
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                                       to two contention interrogatories. In the interest of judicial efficiency, the Court rules
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                                       immediately and without need for a hearing. The specific interrogatory requests and
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                                       responses are attached to the discovery letter brief and are only summarized here. Dkt.
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                                       Nos. 623, 624.
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                                              In interrogatory request no. 5(e), Qualcomm seeks “the date, if any, on which each
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                                       product identified … [the identified relevant products] ceased to be within the relevant
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                                       product market, and a detailed description of why that is the date the product ceased to be
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                                       in the relevant product market.” The FTC’s answer states that “the FTC does not know the
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                                       date on which each discontinued product was discontinued . . . [and] does not know the
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                                       Case No. 17-cv-00220 LHK (NC)
                                   1   date on which [relevant products] was no longer considered for inclusion within flagship
                                   2   or premium tier handsets.” Dkt. No. 623 at 5.
                                   3          The Court finds that the FTC has answered the interrogatory sufficiently. If,
                                   4   however, the FTC later learns additional or corrective information that has not otherwise
                                   5   been disclosed, it must supplement its response in accordance with Rule 26(e).
                                   6          In interrogatory request no. 13, Qualcomm asks the FTC to identify “specific
                                   7   instances in which a rival baseband processor supplier incurred increased costs caused by
                                   8   any [anticompetitive] conduct of Qualcomm, identify the amount of any such increased
                                   9   costs, and provide all facts concerning or supporting your response.” The FTC’s core
                                  10   answer is that “The tax imposed by Qualcomm represents an economic cost to all rival
                                  11   baseband processor suppliers.” Dkt. No. 623 at 6.
                                              The Court agrees with Qualcomm that (1) this interrogatory requests relevant
Northern District of California




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 United States District Court




                                  13   information, and (2) the FTC’s response is a legal generality, where specific facts are
                                  14   requested. Therefore, the FTC is ordered to amend its response to request no. 13 by March
                                  15   23, providing specific facts and identifying specific rivals and specific costs.
                                  16          No costs or fees are awarded.
                                  17          IT IS SO ORDERED.
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                                  19   Dated: March 16, 2018                      _____________________________________
                                                                                        NATHANAEL M. COUSINS
                                  20                                                    United States Magistrate Judge
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                                       Case No. 17-cv-00220 LHK (NC)                        2
